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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF FLORIDA
                  TALLAHASSEE DIVISION

KISHA SINGLETARY,

     Plaintiff,

v.

UNITED STATES OF                   Case No. 4:24cv478-MW/MAF
AMERICA,

     Defendant.


       GOVERNMENT’S MOTION FOR MORE DEFINITE
     STATEMENT OF COUNT I AND TO DISMISS COUNT 2

      This is a case brought under the Federal Tort Claims Act by a

former federal prisoner alleging sexual abuse. In the complaint, the

plaintiff Kisha Singletary alleges that a Federal Bureau of Prisons

officer sexually abused her while she was in inmate at FCI-

Tallahassee, and that BOP is liable for negligence and assault and

battery. But, as to negligence (Count 1), the complaint is too vague and

ambiguous to reasonably prepare a response. And the FTCA only

waives sovereign immunity for acts or omissions within the federal

employee’s scope of employment, and sexual assault is certainly not

under Florida law (as to Count 2). Accordingly, the Court should order

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a more definite statement of Count 1 (negligence) of the complaint and

dismiss Count 2 (assault/battery) for lack of subject matter

jurisdiction. See Fed. R. Civ. P. 12(e), 12(b)(1) (respectively).

                               BACKGROUND

      The facts alleged in the complaint, assumed here to be true, and

those otherwise properly considered, are these. Ms. Singletary is a

former federal prisoner. ECF 1 ¶12. She arrived at FCI Tallahassee in

2022. ECF 1 ¶12. In April or May 2022, Ms. Singletary says a BOP

law enforcement officer began sexually harassing her and ultimately

sexually assaulted her.1 ECF 1 ¶¶25-31. This alleged behavior ended

in July 2022. ECF 1 ¶34. Ms. Singletary says that the BOP officer once

“screamed at [her] in front of another officer in a way that would have

made it obvious that there was a sexual relationship.” ECF 1 ¶33. But

there are no details in the complaint showing who at BOP other than

the officer were aware of any sexual abuse of this plaintiff by the officer

and acted negligently in response to it.




      1 The officer named in the complaint was convicted of sexual abuse of a

different prisoner in another case in this district. See generally United States v.
Hatten, 4:23cr18-RH/MAF (N.D. Fla.).
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                             ARGUMENT

     The Court should dismiss Count 2 for lack of subject matter

jurisdiction and order a more definite statement of Count 1. Those

issues are taken in reverse order here because elimination of the

former focuses the issues on the latter.

    I.   The Court does not have subject matter jurisdiction
over Count 2 because sexual abuse is not within a BOP
employee’s scope of employment under Florida law.

     The plaintiff asserts the Court has jurisdiction under 28 U.S.C.

§1346. In that the statute, the FTCA, the government waives sovereign

immunity and gives federal courts subject matter jurisdiction over

claims against the United States for money damages “for injury or loss

of property . . . caused by the negligent or wrongful act or omission of

any employee of the Government while acting within the scope of his

office or employment, under circumstances where the United States, if

a private person, would be liable to the claimant in accordance with

the law of the place where the act or omission occurred.” 28 U.S.C.

§1346(b) (emphasis added). If there is not a waiver of immunity, a court

lacks subject matter jurisdiction over the suit. See Zelaya v. United

States, 781 F.3d 1315, 1322 (11th Cir. 2015). The United States may


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condition its waiver of immunity. Such exceptions to the consent to be

sued “must be strictly construed in favor of the United States.” See

JBP Acquisitions, LP v. U.S. ex rel. F.D.I.C., 224 F.3d 1260, 1263 (11th

Cir. 2000).

     Whether a federal officer is “acting within the scope of his office

or employment” is thus a threshold jurisdictional issue properly

resolved on a motion to dismiss under Fed. R. Civ. P. 12(b)(1). See

Brownback v. King, 141 S. Ct. 740, 749 (2021) (characterizing “acting

with the scope of . . . employment under the FTCA as a ‘jurisdictional

element’ ”); Dolan v. United States, 514 F.3d 587, 593 (6th Cir. 2008)

(“Whether an employee was acting within the scope of his employment

is a question of law, not fact, made in accordance with the law of the

state where the conduct occurred.”); Johnson v. United States, 534 F.3d

958, 963–64 (8th Cir. 2008) (granting Rule 12(b)(1) motion and stating

that whether an alleged tortfeasor’s acts were within the scope of his

employment was a “threshold requirement to establish jurisdiction

under the FTCA”).

     Florida law governs the scope-of-employment issue. Hunter v.

United States, 825 F. App’x 699, 701 (11th Cir. 2020). Under Florida


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law, an employee’s conduct is within the scope of employment when it

“(1) is of the kind the employee is hired to perform, (2) occurs

substantially within the time and space limits authorized or required

by the work to be performed, and (3) is activated at least in part by a

purpose to serve the master.” Id. at 701–02 (quotation omitted).

Florida courts have generally held that sexual assaults are outside the

scope of an employee’s employment.

     The sexual assault of an inmate is a punishable offense that is

not within the scope of a federal correctional officer’s employment. It is

neither the kind the officer was hired to perform nor were motivated

in any way to serve the purpose of the employer. As another judge of

this Court echoed the Eleventh Circuit, it “blinks reality” to suggest

otherwise.” Simon v. United States, 4:22cv321-WS/MAF, ECF 16 at 4

(N.D. Fla. June 6, 2023) (quoting Hunter, 825 F. App’x at 702).

     Accordingly, because the wrongful acts alleged in Count 1 are not

within the scope of the identified employee’s employment, Count 1

must be dismissed for lack of subject matter jurisdiction.

      II. A more definite statement of facts underlying Count
1 is required to prepare a responsive pleading.

     Because the sexual assault of an inmate is clearly beyond the

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scope of employment under Florida law, the plaintiff’s negligence claim

requires properly alleging that someone other than the officer allegedly

committing the sexual abuse was negligent. Rule 12(b)(6) requires the

plaintiff to allege “sufficient factual matter, accepted as true, to state

a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (internal quotation marks omitted). Whether Count 1

does that is arguable, and there may well be applicable exceptions to

the FTCA sovereign immunity waiver (e.g., discretionary functions).

But dismissal of Count 2 is not the relief sought at this time.

      What is sought now are allegations specific enough to answer

appropriately. Under Rule 12(e), “[a] party may move for a more

definite statement of a pleading to which a responsive pleading is

allowed but which is so vague or ambiguous that the party cannot

reasonably prepare a response.” It “must point out the defects

complained of and the details desired.” Id.

      The rule requires more details than the complaint provides.

Generalized criticisms of BOP policy (decisions likely subject to the

discretionary function exception to the FTCA sovereign immunity

waiver), which the complaint relies heavily upon, are clearly not


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sufficient to state a claim for negligence. But the complaint allegations

relating to the plaintiff are so vague they are impossible to fairly

investigate, evaluate, and respond to. See Fed. R. Civ. P. 11.

     For example, the complaint alleges that the officer abused the

plaintiff on an occasion and “[o]ther officers were aware of what was

happening, no one said or did anything.” ECF 1 ¶28. What does that

mean? Did someone supposedly observe a sexual assault and not report

it? Or did someone hear a rumor and discount and/or not act on it?

Something else? Who knows? Elsewhere it says “officers and staff at

FCI Tallahassee knew of the abuse she faced from Hatten and allowed

it to continue.” ECF 1 ¶30. Who are these people and how did they

know of this abuse the complaint does not say, but if plaintiff knows

about this she should say who and how. The complaint says “[a]t one

point Hatten screamed at Singletary in front of another officer in a way

that would have made it obvious that there was a sexual relationship.”

ECF 1 ¶33. What other officer? Why should it be obvious from the

interaction there was a sexual relationship? Why not describe the

incident so the government can investigate it? The plaintiff was there

and should know but does not say.


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     These are the facts alleged in the complaint—if assumed to be

true in the light most favorable to plaintiff—which would be necessary

(though they are not necessarily sufficient now) to state a negligence

claim; without them it clearly would not. See Fed. R. Civ. P. 12(b)(6).

The details are facts the plaintiff should know but chose not to include

in the complaint. The details are necessary for the defendant to

ascertain how to respond appropriately to the complaint. A negligence

claim asserting a federal employee was negligent ought to say who

allegedly negligently acted or failed to act. Allegations so vague as

these are burdensome and difficult (if not impossible) to reasonably

investigate, leading to responses that deny allegations for lack of

sufficient information. None of that helps efficiently develop the case

to a just resolution. And a failure to enforce the pleading rules invites

abuse of the protections afforded by Rule 12(b)(6).

     Accordingly, the Court should exercise its discretion and order a

more definite statement of the facts underlying Count 1; that is, the

specific acts or omissions of a federal employee acting (or failing to act)

within the scope of that employee’s employment. See Fed. R. Civ. P.

12(e); see also Fed. R. Civ. P. 1 (explaining the rules “should be


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construed, administered, and employed by the court and the parties to

secure the just, speedy, and inexpensive determination of every action

and proceeding”).

                             CONCLUSION

      Accordingly, the Court should order a more definite statement of

Count 1 of the complaint and dismiss Count 2 for lack of subject matter

jurisdiction. See Fed. R. Civ. P. 12(e), (b)(1) (respectively).

                                    Respectfully submitted,

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             LOCAL RULE 7.1(F) CERTIFICATION

     I certify that this memorandum contains 1650 words, per

Microsoft Word’s word count, which complies with the word limit

requirements set forth in Local Rule 7.1(F).

                                 /s Andrew J. Grogan
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